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                             CERTIFICATE OF SERVICE

       I hereby certify that on February 5, 2018, I electronically filed the foregoing with

the Clerk of the Court using the ECF system, which sent notification of such filing to all

counsel of record.




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